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 7                                 UNITED STATES DISTRICT COURT

 8                                CENTRAL DISTRICT OF CALIFORNIA

 9 ERNIE U.,                                       Case No. 2:20-cv-08022-VEB
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                  Plaintiff,                       ORDER FOR THE AWARD AND PAYMENT
11                                                 OF ATTORNEYS’ FEES AND EXPENSES
                          v.                       PURSUANT TO THE EQUAL ACCESS TO
12                                                 JUSTICE ACT
13 KILOLO KIJAKAZI, Acting
     Commissioner of Social Security,
14
                  Defendant.
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16          Based upon the parties’ Stipulation for the Award and Payment of Equal Access to Justice Act

17 Fees and Expenses, IT IS ORDERED that fees and expenses in the amount of $7,500.00 as authorized
18 by 28 U.S.C. § 2412 be awarded subject to the terms of the Stipulation.
19 DATE: October 27, 2021                       /s/Victor E. Bianchini
20                                              VICTOR E. BIANCHINI
                                                UNITED STATES MAGISTRATE JUDGE
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